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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

DISPLAY TECHNOLOGIES, LLC,

                    Plaintiff,

v.                                                   Case No. 2:17-cv-00070-JRG-RSP

HTC AMERICA, INC.,                                   JURY TRIAL DEMANDED

                    Defendant.


                  HTC AMERICA, INC.’S ANSWER AND DEFENSES TO
                        DISPLAY TECHNOLOGIES, LLC’S
                     COMPLAINT FOR PATENT INFRINGEMENT

        Defendant HTC America, Inc. (“Defendant” or “HTC America”), by and through its

undersigned counsel, hereby answers to Display Technologies, LLC’s (“Plaintiff” or “DT”)

Complaint for Patent Infringement (“Complaint”) (Dkt. No. 1). Except as expressly admitted

herein, HTC America denies all allegations of the Complaint.

                                           PARTIES

        1.      HTC America lacks sufficient knowledge or information to form a belief as to the

allegations in paragraph 1 of the Complaint and on that basis, therefore denies them.

        2.      HTC America admits it is Washington Corporation. HTC America denies the

remaining allegations of paragraph 2.

                                 JURISDICTION AND VENUE

        3.      HTC America admits that the Complaint purports to bring an action for

infringement arising under 35 U.S.C. §§ 271(a), 281, and 284 – 285, but HTC America denies it

infringes any valid DT patent claim. HTC America admits that this Court has subject matter

jurisdiction over this action.
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        4.      HTC America denies that venue is proper in this district under 28 U.S.C.

§§ 1391(c) and 1400(b). HTC America admits that it has conducted and conducts limited

business in the state of Texas, but any such limited business does not justify venue in this

district. HTC America denies that it has infringed U.S. Patent No. 9,300,723 (the “’723 Patent”)

in this district, or any district of the United States.

        5.      For purposes of this Answer only, HTC America does not dispute the Court’s

personal jurisdiction over HTC America.

                                             COUNT ONE

                (Infringement of U.S. Patent No. 9,300,723 (the “’723 Patent”))

        6.      HTC America lacks sufficient knowledge or information to form a belief as to the

allegations in paragraph 6 of the Complaint and on that basis, therefore denies them. HTC

America admits that Exhibit A purports to be a copy of the ’723 Patent.

        7.      HTC America lacks sufficient knowledge or information to form a belief as to the

allegations in paragraph 7 of the Complaint and on that basis, therefore denies them.

        8.      HTC America lacks sufficient knowledge or information to form a belief as to the

allegations in paragraph 8 of the Complaint and on that basis, therefore denies them.

        9.      HTC America admits that it has sold or is selling products known as HTC One

(M8), HTC One (E8), HTC Bolt, and HTC 10 (collectively, the “Accused Products”). HTC

America denies that any of these products infringe any valid claim of the ’723 Patent. HTC

America denies the remaining allegations of paragraph 9.

        10.     Denied.

        11.     HTC America lacks sufficient knowledge or information to form a belief as to the

allegations in paragraph 11 of the Complaint and on that basis, therefore denies them.

        12.     Denied.


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      13.   Denied.

      14.   Denied.

      15.   Denied.

      16.   Denied.

      17.   Denied.

      18.   Denied.

      19.   Denied.

      20.   Denied.

      21.   Denied.

      22.   Denied.

      23.   Denied.

      24.   Denied.

      25.   Denied.

      26.   Denied.

      27.   Denied.

      28.   Denied.

      29.   Denied.

      30.   Denied.

      31.   Denied.

      32.   Denied.

      33.   Denied.

      34.   Denied.

      35.   Denied.




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        36.     Denied.

        37.     Denied.

        38.     Denied.

        39.     Denied.

        40.     Denied.

        41.     Denied.

        42.     Denied.

        43.     Denied.

                                        PRAYER FOR RELIEF

        HTC denies all allegations in Plaintiff’s prayer for relief and denies that Plaintiff is

entitled to any relief.

                                  DEMAND FOR JURY TRIAL

        No response is required to DT’s demand for a trial by jury, but HTC America hereby

demands a trial by jury on all issues so triable, including without limitation HTC America’s

defenses.

                          HTC AMERICA’S AFFIRMATIVE DEFENSES

        A.      HTC America incorporates by reference the foregoing paragraphs in their entirety

and asserts the following affirmative and other defenses. By asserting these defenses, HTC

America does not admit that it bears the burden of proof on any issue and does not accept any

burden it would not otherwise bear. HTC America reserves all other defenses pursuant to Rule

8(c) of the Federal Rules of Civil Procedure, the Patent Laws of the United States, and any other

defenses, at law or in equity, that now exist or in the future may be available based on discovery

and further factual investigation in this case.




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                              FIRST AFFIRMATIVE DEFENSE

          B.   DT’s Complaint was filed in the improper venue and should thus be dismissed.

                            SECOND AFFIRMATIVE DEFENSE

          C.   HTC America does not and has not infringed, literally or under the doctrine of

equivalents, any valid and enforceable claim of the ’723 Patent.

                              THIRD AFFIRMATIVE DEFENSE

          D.   Each of the asserted claims of the ’723 Patent is invalid for failing to comply with

one or more requirements of the Patent Laws of the United States, including but not limited to

35 U.S.C. §§ 102, 103, and 112.

                            FOURTH AFFIRMATIVE DEFENSE

          E.   Each of the asserted claims of the ’723 Patent fail to comply with 35 U.S.C. § 101

because each asserted claim is directed towards patent-ineligible subject matter such as abstract

ideas without any inventive concept to transform the abstract ideas into patent eligible subject

matter.

                              FIFTH AFFIRMATIVE DEFENSE

          F.   By reason of the prior art and/or statements and representations made to and by

the U.S. Patent and Trademark Office during prosecution of the applications that led to the

issuance of the ’723 Patent and any related applications, the ’723 Patent is so limited that none of

the claims of the ’723 Patent could be properly construed to cover any activity of HTC America.

                              SIXTH AFFIRMATIVE DEFENSE

          G.   DT’s claim for damages is limited by 35 U.S.C. §§ 286 and/or 287.




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                            SEVENTH AFFIRMATIVE DEFENSE

       H.      DT’s claims are barred, in whole or in part, by the equitable doctrines of estoppel

and/or patent exhaustion.

                             EIGHTH AFFIRMATIVE DEFENSE

       I.      DT’s claims are unenforceable due to improper revival of an abandoned

application that led to the issuance of the ’723 Patent.

                                 RESERVATION OF RIGHTS

       HTC America reserves the right to amend should it learn of additional information or

defenses.

                                      DEMAND FOR JURY

       HTC America hereby demands a trial by jury on all issues so triable.



Dated: April 10, 2017                                 Respectfully submitted,



                                                      /s/ Matthew C. Bernstein
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                                                      HTC America, Inc.




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on April 10, 2017, a true and correct copy of the above

document was served on all counsel of record who are deemed to have consented to electronic

service via the Court’s CM/ECF system per Local Rule CV-5(a)(3)(A).

                                                          /s/ Matthew C. Bernstein
                                                              Matthew C. Bernstein




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